       CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 1 of 20




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

 United States of America,                        Case No. 0:17-cr-00064-DWF-KMM

                         Plaintiff,

 v.
                                                               ORDER
 Edward S. Adams

                         Defendant.


       The government filed a motion contesting the application of privilege to
several documents that the Defendant, Edward S. Adams, claims are protected.
(Gov’t’s Mot., ECF No. 192.) The government challenges the application of the
attorney-client privilege and work-product doctrine to three categories of documents.
First, there are communications between Mr. Adams and accountants at Murry LLC,
which Adams claims are protected by the attorney-client privilege. The government
claims these communications do not qualify for the protections of the privilege, that
any such protections were waived by the filing of amended tax returns, and that even
if they are protected, the crime-fraud exception vitiates the privilege. Second,
Mr. Adams has asserted that several communications he had with his law and business
partner, Michael Monahan, and their paralegal, Josh Reilly, are protected by the
attorney-client privilege or work-product doctrine. The government contends that
these protections do not apply. Finally, Mr. Adams claims privilege for
communications he had with several lawyers that represented the Apollo and Scio
companies. The government asserts that these communications are not protected
because the lawyers represented the corporate entities and not Mr. Adams personally.
For the reasons set forth below, the Court denies the government’s motion in part,
and grants it in part.




                                            1
       CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 2 of 20




II.    Murry LLC Communications

       Mr. Adams has invoked the attorney-client privilege over numerous
communications between himself and accountants at Murry LLC, who were retained
by his tax counsel under a so-called Kovel arrangement. See United States v. Kovel, 296
F.2d 918, 921–22 (2nd Cir. 1961) (holding that attorney-client privilege may apply to
an individual’s communications with an accountant if the communications are “made
in confidence for the purpose of obtaining legal advice from the lawyer”). The
government raises three challenges to this assertion of privilege. First, the government
argues that the protections provided under Kovel are not applicable to the individual
communications before the Court for in camera review. Even if the protections of Kovel
did apply, the government asserts that any protection was waived by Mr. Adams’s
subsequent filing of amended tax returns. Finally, the government argues that the
crime-fraud exception vitiates any claim of privilege.

       The Court has conducted an in camera review of the following Murry
communications: In Camera Exhibits M, N, O, P, R, S, and T. For the reasons set
forth below, the Court rejects the government’s challenge to the assertion of privilege
regarding these documents. However, this Court’s decisions regarding the privileged
nature of the specific documents at issue is expressly limited to these documents. The
Court’s rulings should not be read to strengthen or weaken claims of privilege or
discoverability as to other documents, evidence, or testimony as those issues are not
now before the Court.

       A.     Attorney-Client Privilege

       Federal common law governs questions of privilege in a criminal case such as
this. United States v. Yielding, 657 F.3d 688, 706 (8th Cir. 2011). The attorney-client
privilege protects confidential communications between a client and an attorney that
are made for the purpose of obtaining legal advice. Id. (citing United States v. Horvath,
731 F.2d 557, 561 (8th Cir. 1984)). The party asserting that a communication is




                                             2
       CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 3 of 20




protected by the attorney-client privilege has the burden to establish that it applies.
Hollins v. Powell, 773 F.2d 191, 196 (8th Cir. 1985).

       B.     Application of Kovel

       With respect to the government’s argument that the protections of Kovel do not
apply to the Murry communications, the Court finds that Thomas Brever’s
Declaration and Supplemental Declaration sufficiently demonstrate that the attorney-
client privilege extends to the documents at issue. (Brever Decl., ECF No. 97; Suppl.
Brever Decl., ECF No. 114.) In these declarations, Mr. Brever thoroughly explains
how communications with Murry LLC and the information Mr. Adams provided to
the accountants assisted in Mr. Brever’s provision of legal advice to his client
regarding tax-related matters. This is sufficient to invoke the attorney-client privilege.
See Kovel, 296 F.2d 921–22 (explaining that where an attorney retains an accountant to
assist the lawyer in providing legal advice to a client concerning tax issues, the
attorney-client privilege may extend to communications between the client and the
accountant); see also United States v. Cote, 456 F.2d 142, 144 (8th Cir. 1972) (concluding
that attorney-client privilege may apply where “the accountant’s aid to the lawyer
preceded the advice and was an integral part of it”). The Court’s in camera review of
the communications does not contradict Mr. Brever’s explanation.

       C.     Waiver By Filing Amended Returns

       The Court also concludes that Mr. Adams’s subsequent filing of amended tax
returns for 2008, 2009, and 2010 do not result in a waiver of the privilege as to the
Murry communications submitted for in camera review. In Cote, after concluding that
the privilege could apply to communications between a client and an accountant who
is retained to assist an attorney in providing legal advice on tax matters, the Eighth
Circuit reasoned as follows:

       Notwithstanding our recognition that the attorney-client privilege
       attached to the information contained in the accountant’s workpapers
       under the circumstances existing here, we find that by filing the amended
       returns the taxpayers communicated, at least in part, the substance of

                                             3
      CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 4 of 20




      that information to the government, and they must now disclose the
      detail underlying the reported data.
456 F.2d at 144. However, the court cautioned that “[t]oo broad an application of the
rule of waiver requiring unlimited disclosure by reason of filing an income tax return
might tend to destroy the salutary purposes of the privilege which invite
confidentiality between the attorney and his client.” Id. at 145 n.4. The Cote court
distinguished between “workpapers [that] contain detail of unpublished expressions
which are not part of the data revealed on the tax returns,” and other workpapers to
which the rule of waiver would apply. Id. (emphasis in original).

      Here, Mr. Brever explains in his Supplemental Declaration that in responding
to a subpoena from the government, he provided copies of files that contain data and
information that that was included on the amended returns for 2008–2010. However,
he did not disclose information communicated by Mr. Adams in connection with
requests for legal advice. (Suppl. Brever Decl. ¶ 7.) Mr. Brever’s explanation
distinguishes this case from Cote, where the accountant “testified that the information
on his workpapers was later transcribed onto the amended returns which were filed by
the taxpayers with the government,” thereby waiving the privilege. See 456 F.2d at
145. The Court cannot conclude on this record, which includes the Court’s in camera
review, that Mr. Adams is claiming privilege over the underlying details for the data
that was ultimately transmitted to the IRS when he filed amended returns. Instead, the
record suggests that the information conveyed to the accountants at Murry LLC
comprised the type of unpublished expressions that were not later revealed on the
amended tax returns.

      D.     Crime Fraud

      Finally, the government asserts that even if Mr. Adams’s claim of privilege for
the Murry communications is valid, it is vitiated by the crime-fraud exception. The
government’s position begins with the premise that between 2008 and 2010, there is a
consistent indication that Mr. Adams was involved in transactions purporting to
involve warrants for Apollo stock (i.e., options to purchase stock at a set price on a


                                            4
       CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 5 of 20




certain date). However, when he later filed amended tax returns in 2014 with the
assistance of Murry LLC for the tax years 2008, 2009, and 2010, he disclosed income
that he earned through the sale of stocks. Reporting that his income came from the
sale of stocks, rather than through the sale of warrants, permitted Mr. Adams to
obtain a significant tax savings because the tax rate for the sale of stocks is much
lower. The government suggests that Mr. Adams communicated with Murry LLC and
Mr. Brever to get advice that would further the submission of fraudulent tax
returns—misrepresenting the nature of the transactions in which he engaged in order
to take advantage of a lower tax rate.

       “Under the crime-fraud exception, attorney-client privilege ‘does not extend to
communications made for the purpose of getting advice for the commission of a
fraud or a crime.’” In re Green Grand Jury Proceedings, 492 F.3d 976, 979 (8th Cir. 2007)
(quoting United States v. Zolin, 491 U.S. 554, 563 (1989)). Though the attorney-client
privilege protects an individual’s consultation with a lawyer “with respect to past
wrongdoings,” the privilege is lost if the communication is made “to further a
continuing or contemplated criminal fraud or scheme.” Id. (internal quotations and
alterations omitted). “Similarly, ‘a client who has used his attorney’s assistance to
perpetrate a crime or fraud cannot assert the work product privilege as to any
documents generated in furtherance of his misconduct.’” In re Grand Jury Proceedings,
G.S., F.S., 609 F.3d 909, 912 (8th Cir. 2010) (quoting In re Green Grand Jury Proceedings,
492 F.3d at 980).

       Before the exception may be applied, the government must make a threshold
showing that legal advice was obtained to further an illegal or fraudulent scheme. See
United States v. Horvath, 731 F.2d 557, 562 (8th Cir. 1984) (citing Clark v. United States,
289 U.S. 1, 15 (1933)). This threshold requirement is not stringent. The party invoking
the crime-fraud exception is only required to demonstrate “a factual basis adequate to
support a good faith belief by a reasonable person … that in camera review of the
materials may reveal evidence to establish the claim that the crime-fraud exception




                                             5
       CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 6 of 20




applies.”1 Zolin, 491 U.S. at 572; In re Green Grand Jury Proceedings, 492 F.2d at 982. To
determine whether a prima facie showing has been made, the Court may review any
relevant evidence that has not been adjudicated to be privileged. Zolin, 491 U.S. at 575.

       Mr. Adams contends that the government did not meet this initial threshold
burden to trigger an in camera review. The Court disagrees because, on this record, a
reasonable person could form a good faith belief that the Murry communications may
reveal that Mr. Adams sought legal advice in furtherance of filing fraudulent tax
returns. Mr. Adams communicated with Murry in late October and early November
of 2014. Shortly after these communications, he filed amended tax returns that
indicated he earned income in the tax years 2008, 2009, and 2010 from the sale of
stocks. However, the government points to several documents from the 2008–2010
period indicating that Mr. Adams was not selling stocks, but warrants. (See Gov’t’s
Reply Mem. at 14–17 (citing evidence in the record describing transactions during the


1
       Even if the threshold showing is made, the Court has discretion to
decline to review information in camera based on the case before it.
       The court should make that decision in light of the facts and
       circumstances of the particular case, including, among other things, the
       volume of materials the district court has been asked to review, the
       relative importance to the case of the alleged privileged information, and
       the likelihood that the evidence produced through in camera review,
       together with other available evidence then before the court, will
       establish that the crime-fraud exception does apply. The district court is
       also free to defer its in camera review if it concludes that additional
       evidence in support of the crime-fraud exception may be available that is
       not allegedly privileged, and that production of the additional evidence
       will not unduly disrupt or delay the proceedings.
Id. at 572. Neither party suggests that the Court should decline to review the Murry
communications in camera based on these considerations. Mr. Adams himself has
presented the Murry communications in camera in support of his own motions seeking
dismissal of the indictment and suppression of evidence seized pursuant to a warrant.
Given that the Court is already familiar with these materials, there is no reason to
avoid reviewing them again in the context of the present dispute.


                                             6
       CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 7 of 20




relevant period as sales of warrants), ECF No. 217.) These facts combine to satisfy
the requirement of a prima facie showing.

       To make the “ultimate showing” that the crime-fraud exception applies, and
the purportedly privileged documents should be disclosed, however, requires a higher
quantum of proof. In re Gen. Motors Corp., 153 F.3d 714, 716 (8th Cir. 1998) (noting
that the Supreme Court in Zolin, 491 U.S. at 563 n.7, “expressly declined to specify the
‘quantum of proof’ required to establish the crime/fraud exception,” but that the
standard is higher than the threshold showing required for in camera review). The
parties point to no Supreme Court or Eighth Circuit case setting forth the test for the
“ultimate showing” required to find that the crime-fraud exception applies, and this
Court has not located such controlling authority. As articulated by another Court
from this District, the ultimate showing involves a “two-part test.” Triple Five of
Minnesota, Inc. v. Simon, 213 F.R.D. 324, 326–27 (D. Minn. 2002).

       First, there must be a prima facie showing that the client was engaged in
       criminal or fraudulent conduct when he sought the advice of counsel,
       that he was planning such conduct when he sought the advice of
       counsel, or that he committed a crime or fraud subsequent to receiving
       the benefit of counsel’s advice. Second, there must be a showing that the
       attorney’s assistance was obtained in furtherance of the criminal or
       fraudulent activity or was closely related to it.
Id. at 327 (quoting In re Grand Jury Investigation, 842 F.2d 1223, 1226 (11th Cir. 1987).
“The exception applies only when there is ‘reasonable cause to believe that the
attorney’s services were utilized in furtherance of the ongoing unlawful scheme.’”
United States v. Martin, 278 F.3d 988, 1001 (9th Cir. 2002) (quoting In re Grand Jury
proceedings, 87 F.3d 377, 381 (9th Cir. 1996)). This showing requires “‘something less
than a mathematical (more likely than not) probability that the client intended to use
the attorney in furtherance of a crime or fraud.’” United States v. Weed, 99 F. Supp. 3d
201, 205 (D. Mass. 2015) (quoting In re Grand Jury Proceedings, 417 F.3d 18, 23 (1st Cir.
2005)).




                                             7
         CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 8 of 20




         Though an admission of an intent to engage in future wrongdoing is not
required for application of the crime-fraud exception, where the in camera review
reveals such an admission, the privilege will certainly be overcome. See United States v.
Zolin, 905 F.2d 1344, 1345–46 (9th Cir. 1990) (after remand from the Supreme Court,
concluding that the transcripts of meetings showed the figures involved in the project
at issue “admit that they are attempting to confuse and defraud the U.S.
Government”). Importantly, however, the mere fact a privileged communication may
help the prosecution prove its case against the defendant is not enough to trigger
application of the exception. See Pritchard-Keang Nam Corp. v. Jaworski, 751 F.2d 277,
283 (8th Cir. 1984) (“That the [attorney-client communication] may help prove that a
[crime or] fraud occurred does not mean that it was used in perpetrating the [crime or]
fraud.”). Instead, the communication must be made in furtherance of the alleged
crime.

         Because an in-depth discussion of the contents of the Murry communications
themselves would reveal the assertedly privileged communications, the Court’s
discussion of the in camera documents must be circumspect. Having closely reviewed
the Murry communications, the Court finds that although the government made the
threshold showing, it has failed to make the ultimate showing that the crime-fraud
exception applies. The specific Murry communications at issue do not provide
reasonable cause to believe that the Mr. Adams obtained Mr. Brever’s advice and
consulted with the Kovel accountants with the intent to commit a fraud or crime by
misrepresenting that he earned income from stocks instead of the sale of warrants.
Therefore, the government’s motion is denied to the extent it seeks disclosure of the
Murry communications under the crime-fraud exception.

II.      Monahan and Reilly Communications

         Mr. Adams also claims privilege for several email communications he had with
Michael Monahan (a partner at Adams Monahan LLP) and Josh Reilly (an Adams
Monahan LLP paralegal). Mr. Adams provided these communications for an in camera
review as In Camera Exhibit W. Mr. Adams asserts that he and Monahan


                                            8
       CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 9 of 20




communicated about what information to send to an attorney representing them in a
dispute with former business partners Mack and Rapello. He also asserts that they
compiled other documents, and asked Mr. Reilly to do the same, for transmission to
counsel in connection with a lawsuit in which they were both defendants (the Fink
litigation). And finally, Mr. Adams asserts that they selected a final group of
documents to send to attorneys in anticipation of bringing a malpractice claim against
the Nelson Mullins law firm. (Defs.’ Opp’n at 28–29, ECF No. 202.) The government
disagrees that these communications are protected. For the reasons set forth below,
the Court finds that the communications at issue are protected by the work-product
doctrine, but the underlying documents that Adams, Monahan, and Reilly gathered are
not.

       A.     Work-Product Doctrine

       In Hickman v. Taylor, 329 U.S. 495 (1947), the Supreme Court concluded that an
attorney’s work product is protected from discovery. Information collected or
prepared by counsel that contains the mental impressions of the attorney in the
preparation for actual or potential litigation cannot be discovered by a party’s
adversary. Id. at 511. “[R]elevant and non-privileged facts … hidden in an attorney’s
file” that are “essential to the preparation of one’s case” might be discoverable upon a
showing of sufficient need. Id. at 511–12. The protection of work product applies in
the criminal context as well. United States v. Nobles, 422 U.S. 225, 238 (1975).

       The protection recognized in Hickman led to the codification of Federal Rule of
Civil Procedure 26(b)(3). This Rule creates two categories of information that are
generally beyond the reach of discovery: ordinary work product and opinion work
product. For ordinary work product, a party may not obtain discovery of documents
and tangible things that are prepared in anticipation for litigation by or for another
party or that other party’s representative. Fed. R. Civ. P. 26(b)(3)(A). However, the
protection for ordinary work product is qualified and disclosure may be required if the
documents are otherwise discoverable and the party seeking them shows a substantial
need. Fed. R. Civ. P. 26(b)(3)(A)(i)–(ii). Even if a showing of substantial need is made


                                             9
      CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 10 of 20




and a court orders disclosure of documents prepared in anticipation of litigation, the
court “must protect against disclosure of the mental impressions, conclusions,
opinions, or legal theories of a party’s attorney or other representative concerning the
litigation.” Fed. R. Civ. P. 26(b)(3)(B). Thus opinion work product receives greater,
near-absolute protection.

       The party asserting the work-product protection as a bar to disclosure bears the
burden of proving a factual basis for the applicability of the privilege. In re Grand Jury
Subpoena Duces Tecum, 112 F.3d 910, 925 (8th Cir. 1997) (“The White House bears the
burden of establishing the elements of the work product immunity.”); Selective Ins. Co.
of South Carolina v. Sela, No. 16-cv-4077 (PJS/SER), 2017 WL 8315885, at *3 (D.
Minn. Oct. 10, 2017) (same).

       As explained in more detail below, the work-product issues that are raised here
concern documents that are purportedly related to lawsuits filed against Mr. Adams or
that he contemplated filing several years ago. However, the fact that the work product
was created in connection with litigation that has now concluded does not vitiate the
protection when the documents are sought in a later proceeding. “[T]he work product
privilege applies to documents prepared in anticipation of terminated litigation.” In re
Murphy, 560 F.2d 326, 334 (8th Cir. 1977). To promote the policy of protecting an
attorney’s preparation for litigation recognized in Hickman, the work-product doctrine
“extends beyond the termination of the litigation for which the documents were
prepared.” Id.

       Several of the items that are in dispute are email communications that do not
specifically include an attorney representing Mr. Adams. However, “‘a lawyer need not
be involved at all for the work product protection to take effect,’” and the protection
for “documents and tangible things extends to emails. Wichansky v. Zowine, No. CV-
13-01208-PHX-DGC, 2015 WL 5693521, at *3 & n.1 (D. Ariz. Sept. 29, 2015))
(quoting Goff v. Harrah’s Operating Co., Inc., 240 F.R.D. 659, 660 (D. Nev. 2007)
(quoting Roger Park et al., Hornbook on Evidence Law § 8.09 (West 2d ed. 2004)).



                                            10
      CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 11 of 20




      Based on both the Court’s in camera review of the communications at issue and
on the entire record submitted in connection with the government’s motion, the
Court finds that Mr. Adams has met his burden to show that the emails in this
category are protected communications. However, as explored below, that protection
does not extend to the documents themselves that were gathered.

      B.     Mack/Rapello and Fink Litigation Emails

      Based on the Court’s in camera review the April 30, 2012 email at Row 16 and
the August 1, 2012 email at Row 43 of Mr. Adams’s privilege log qualify for the work-
product protection. Though no attorney is included on these communications
between Mr. Adams and Mr. Monahan, that fact alone does not render the work-
product protection inapplicable. The emails themselves support Mr. Adams’s claim of
protection as these communications were clearly drafted because of the Mack and
Rapello and Fink litigations.

      C.     Gathering or Selecting Documents for Use In Litigation

      For the majority of the remaining emails that are in dispute, Mr. Adams claims
that the work-product doctrine applies because they are communications reflecting
the gathering of information for use in pending or contemplated litigation. (See Def.’s
Opp’n at 29.) Emails that reflect the collection or selection of documents for use in
litigation may qualify for work-product protection under certain circumstances. Cf.
Sporck v. Peil, 759 F.2d 312 (3rd Cir. 1985) (“We believe that the selection and
compilation of documents by counsel in this case in preparation for pretrial discovery
falls within the highly-protected category of opinion work product.”); Tatum v. RJ
Reynolds Tobacco Co., 247 F.R.D. 488, 501 (M.D.N.C. 2008) (reasoning that three
documents at issue contained “information gathered at the request of counsel in
anticipation of litigation” so the work-product doctrine applied and finding that the
information at issue was “opinion work product as it is a reflection of counsel’s
mental impressions and legal theories concerning the litigation, and thus is not
discoverable”).


                                           11
      CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 12 of 20




       However, the application of the work-product rule to materials that reveal the
selection or compiling of specific documents in preparation of litigation does not
cloak the underlying materials themselves in the protection of the work-product
doctrine. See, e.g., McClurg v. Mallinckrodt, Inc., No. 4:12-cv-00361-AGF, 2016 WL
880388, at *1 (E.D. Mo. Mar. 8, 2016) (“As an initial matter, there appears to be no
dispute that the underlying third-party documents in this case were not prepared in
anticipation of litigation by another party or its representatives. As such, the
documents themselves are not protected by the work product doctrine.”).

       Assuming that the rule applied in cases like Sporck and Tatum protecting the
“selection and compilation of documents by counsel” or at counsel’s direction
extends to the circumstances here, Mr. Adams has adequately shown that two August
18, 2012 emails he sent to his paralegal, Mr. Reilly, are protected by the work-product
doctrine. (Def.’s Privilege Log (rows 63 & 64).) Both the content of the emails
themselves and the surrounding circumstances support Mr. Adams’s assertion that he
asked Mr. Reilly to gather documents for use in the Fink litigation. Mr. Adams has
further shown that the documents he asked Mr. Reilly to gather were later transmitted
to counsel at Latham & Watkins. (See In Camera Exhibit Z.) The documents Mr. Reilly
was asked to obtain are not attached to these emails. (In Camera Ex. W at 5–8.)

       Mr. Adams has also demonstrated that a number of emails reflect his and
Monahan’s requests for Mr. Reilly to gather materials in connection with a
contemplated action for legal malpractice against the Nelson Mullins law firm. These
communications are from December of 2012 and were sent or received on the 22nd,
23rd, 26th, and 27th, and they are found in Rows 65–68, 71–73, and 76–89. (In Camera
Exhibit W at 9–88.) In these emails, which were submitted in camera, the underlying
documents that Mr. Reilly gathered are incorporated into or appended to the
communications between Adams, Monahan, and Reilly.

       Finally, Mr. Adams has shown that the purpose of two emails from February
16th and 19th in 2013 was to gather documents to send to counsel at Bland Richter in
connection with the potential malpractice claim against Nelson Mullins. (In Camera


                                            12
      CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 13 of 20




Exhibit W at 89–107; Def.’s Privilege Log at 14 (rows 90–91);2 In Camera Exhibits AA
& BB.) The record supports Mr. Adams’s assertion that the purpose of these
communications was gathering information that would later be transmitted to counsel
in connection with anticipated litigation.

       D.     The Underlying Documents

       However, the fact that Mr. Adams has demonstrated that the email
communications between himself, Mr. Monahan, and Mr. Reilly were made in
anticipation of litigation does not end the inquiry. The underlying documents that
were gathered by the above-described communications include emails between third
parties, corporate governance documents, and internal memoranda. As noted above,
some of these underlying documents are attachments, (Def.’s Privilege Log (row 91)),
and others are copied and pasted just below the Adams/Monahan/Reilly emails
regarding gathering documents, (e.g., In Camera Ex. W. at 9–88). These underlying
documents are not themselves protected under the work-product doctrine or
attorney-client privilege.3 Neither Tatum, 247 F.R.D. at 501, on which Mr. Adams

2
     Mr. Adams describes the document at Row 91 of his privilege log, which is a
memorandum, as an attachment to a confidential email between himself and
Monahan. (Def.’s Privilege Log at 14 (row 91).)
3
       Mr. Adams also asserts that some of these emails regarding gathering
information are protected by the attorney-client privilege. (Def.’s Opp’n at 29; Def.’s
Privilege Log (rows 71–73, 76).) These gathering emails are not themselves
communications with counsel for the purpose of obtaining legal advice, and
Mr. Adams has not clearly shown that they fall under the rule articulated in Pucket v.
Hot Springs Sch. Dist. No. 23-2, 239 F.R.D. 572 (D.S.D. 2006), which Adams cites in his
memorandum. (Def.’s Opp’n at 27.) However, the Court need not decide whether the
attorney-client privilege applies to these communications. As discussed in this Order,
the Court has applied the work-product rule protecting the gathering of documents to
these emails themselves. Even if the attorney-client privilege also applies, a client
cannot use that privilege to shield documents from disclosure that are not themselves
protected. “A document, which would be subject to discovery in the client’s
                                                            (footnote continued on next page)

                                             13
      CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 14 of 20




relies, nor the other cases protecting the selection of documents under the work-
product doctrine extends that protection to the compiled documents themselves, and
Mr. Adams makes no argument in support of such a conclusion. Based on the Court’s
in camera review, there is no basis to support any claim of protection for these
underlying documents. Therefore, even if the work-product doctrine protects the
Adams/Monahan/Reilly communications because they involve the gathering of
information in anticipation of litigation, the work-product rule cannot be used to
shield the underlying documents.

       Because the underlying documents are not protected, they must be produced.
In an ordinary civil case, the underlying documents would have been independently
produced in discovery. For example, Sporck involved a plaintiff’s request for the
specific documents compiled by defense counsel to prepare for his client’s deposition.
759 F.2d at 313–14. Defense counsel made that selection out of the more than
100,000 documents that the defense produced during the litigation, and defense
counsel refused to identify the documents he selected. However, he noted that all the
documents he chose were from the larger set that had already been produced. Id. at
314. Because all the documents at issue had already been provided there was no doubt
that the plaintiff in Sporck had access to the non-privileged information and the work-
product doctrine was not being used to shield the discovery of non-privileged,
relevant facts.

       Here, but for Mr. Adams’s assertion of privilege shielding the underlying
documents from review, the government would have obtained them when executing
the search warrant. It is possible that the government has obtained the underlying
documents through investigative tools other than the execution of the search warrant,
but on this record the Court does not know whether the claim of work-product
protection is preventing that access. If Mr. Adams can confirm that the government


possession, does not become privileged because the client sends it to the attorney.”
8 Fed. Prac. & Proc. Civ. § 2017 (3d ed.).


                                           14
       CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 15 of 20




has access to these underlying documents, then no production of them is necessary.
If, however, the government does not already have access to the underlying
documents, the parties are required to meet and confer regarding the proper means by
which production of them should be accomplished.4

III.   Spitzer and Nelson Mullins Communications

       The last two categories of documents at issue in the government’s privilege
challenges involve communications between Mr. Adams and lawyers at two firms.
The government specifically argues that, although the email communications at issue
might be privileged, that privilege belongs to the Apollo/Scio corporate entities, and
has been waived in full. Mr. Adams asserts that the privilege was individual as well as
corporate, so it remains his to invoke.

       First, Mr. Adams claims that both the attorney-client privilege and work-
product doctrine protect certain communications he had with Gregory Spitzer at a law
firm called Paul Hastings, LLP. He asserts that he sent several documents to
Mr. Spitzer to obtain legal advice concerning the Fink litigation and in connection
with a contemplated malpractice action against Nelson Mullins. These
communications are dated August 4, 2012, August 5, 2012, and December 22, 2012.
(In Camera Ex. X; Def.’s Privilege Log (rows 44–46, 69, 74).) Second, Mr. Adams’s
claims attorney-client privilege and work-product protection for communications with
the law firm of Nelson Mullins. (In Camera Ex. Y; Def.’s Privilege Log (rows 47–62).)
This dispute hinges upon whether Mr. Adams had a personal, individual attorney-
client relationship with Mr. Spitzer or Nelson Mullins, or whether he instead




4
       It is possible that one solution would be for the documents at issue to be
produced with new document identifiers so that the government could not readily
infer which documents were believed to be important for which pieces of litigation
and for what purposes. But the Court does not require that this method be used and
the parties are free to arrive at a different agreement.


                                           15
       CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 16 of 20




communicated with these attorneys only as a representative of the Apollo/Scio
entities.

       A.     Legal Standards

       Because corporations “can only act through agents, courts have held that any
privilege that attaches to communications on corporate matters between corporate
employees and corporate counsel belongs to the corporation, not to the individual
employee….” United States v. Int’l Bhd. of Teamsters, 119 F.3d 210, 215 (2d Cir. 1997); see
also Diversified Indus., Inc. v. Meredith, 572 F.2d 596, 611 n.5 (8th Cir. 1977) (“Ordinarily,
the privilege belongs to the corporation and an employee cannot himself claim the
attorney-client privilege and prevent disclosure of the communications between
himself and the corporation’s counsel if the corporation has waived the privilege.”). It
is certainly possible for a corporate employee to seek legal advice from the
corporation’s attorney or for that attorney to act as a “joint attorney,” giving the
individual a claim of privilege as well. Diversified Indus., 572 F.2d at 611 n.5.
Nevertheless, “[t]he default assumption is that the attorney only represents the
corporate entity, not the individuals within the corporate sphere, and it is the
individuals’ burden to dispel that presumption.” In re Grand Jury Subpoena, 274 F.3d
563, 571 (1st Cir. 2001).

       The Third Circuit has set forth a useful test to address this question. For a
corporate employee to demonstrate that he retains a personal privilege over a
communication with corporate counsel requires a showing that: (1) the employee
sought legal advice from the attorney; (2) the employee made it clear that he was
seeking advice individually rather than in a representative capacity; (3) the attorney
communicated with the employee in his individual capacity, knowing that a possible
conflict of interest could arise; (4) the communications with counsel were
confidential; and (5) the substance of the communications with counsel did not relate
to company matters. Teamsters, 119 F.3d at 215 (quoting In re Bevill, Bresler & Schulman
Asset Mgmt. Corp., 805 F.2d 120, 123, 125 (3d Cir. 1986)). Even where this multi-factor
test has not been expressly adopted, courts “have nevertheless required an employee


                                              16
      CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 17 of 20




to make it clear to corporate counsel that he seeks legal advice on personal matters in
order to assert a privilege over ensuing communications with corporate counsel.” Id.
(citing In re Grand Jury Proceedings, Detroit, Mich., August, 1977 (Jackier), 434 F. Supp. 648,
650 (E.D. Mich. 1977); United States v. Sawyer, 878 F. Supp. 295, 296 (D. Mass. 1995);
and United States v. De Lillo, 448 F. Supp. 840, 842–43 (E.D.N.Y. 1978)).

       B.     Spitzer Communications

       Mr. Adams has demonstrated that his communications to Mr. Spitzer were for
the purpose of obtaining legal advice, but he has shown little else that would
substantiate his claim of a personal privilege. Aside from the fact that he may have
been an individual plaintiff in contemplated litigation and that he was sued as an
individual defendant, he has not even alleged that he made it clear to Mr. Spitzer that
he was seeking advice individually rather than in a representative capacity. There has
also been no showing that Mr. Spitzer communicated with him in his individual
capacity despite an awareness that a possible conflict could arise. For example, there is
no indication that Mr. Spitzer ever asked Mr. Adams to sign a conflict waiver or even
discussed the issue with him. Nothing in the in camera communications themselves
makes it clear that Adams was seeking advice in an individual, as opposed to a
representative, capacity. Indeed, the government highlights that in Mr. Adams’s
deposition testimony in connection with the SEC investigation, he testified that
Mr. Spitzer represented the Apollo/Scio entities, and he only had a personal or
individual relationship with Mr. Spitzer on “some real estate deals” they invested in
together. (DX 51 at 345–47.) Mr. Adams does not refute the clear implications of that
testimony in defending his claim of privilege. In short, based on the record before the
Court, Mr. Adams has not demonstrated that any discussions with Mr. Spitzer were
pursued in an individual capacity rather than as a representative of an entity.
Therefore, the government’s motion contesting privilege is granted with respect to the
Spitzer communications.




                                              17
      CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 18 of 20




      C.     Nelson Mullins

      With respect to Mr. Adams’s communications with Nelson Mullins there is a
factual dispute. On the one hand, Mr. Adams filed a Declaration in which he
describes his communications with Cory Manning, an attorney at Nelson Mullins.
(Adams Decl., ECF No. 204.) Mr. Adams states that on August 2, 2012, Kenneth
Fink, who was an Apollo shareholder and investor, filed a lawsuit against Adams,
Monahan, and Scio. (Id. ¶ 1.) Before that time, Nelson Mullins had represented Scio in
connection with SEC filings. (Id. ¶ 2.) A week after the lawsuit was filed by Mr. Fink,
Mr. Adams “participated in a telephone call with Cory Manning … and others about
the Fink litigation.” (Id. ¶ 3.) Mr. Adams states that during that call, Mr. Manning
“confirmed that he was representing the interests of all of the defendants in the Fink
litigation, including Mr. Monahan and [Mr. Adams], in connection with the settlement
negotiations that he was conducting with counsel for the Fink plaintiffs.” (Id. ¶ 4.)
Mr. Adams states that based on that call he believed he was personally represented by
Nelson Mullins and he has not authorized Nelson Mullins to disclose privilege
information. (Id. ¶¶ 5–7.) Mr. Adams also points out that Mr. Manning prepared a
memorandum that discussed strategies for the “defendants” in the Fink litigation,
suggesting that he would have only referenced Scio if his representation was limited to
the corporation. (In Camera Ex. CC.) An additional email communication (In Camera
Ex. DD) allegedly supports Mr. Adams’s assertion that Mr. Manning and Nelson
Mullins were representing him personally in connection with the Fink litigation until
Mr. Adams retained Latham & Watkins less than a month later.

      Nelson Mullins denies ever representing Mr. Adams in his individual or
personal capacity. In a letter to Assistant United States Attorney John Kokkinen,
Mr. Manning stated that Nelson Mullins “had an attorney-client relationship with Scio
Diamond, the company. My firm did not have, and has never had, an attorney-client
relationship with Mr. Adams in his individual capacity.” (Gov’t’s Ex. K, ECF
No. 193-2.) In addition, the government notes that Mr. Adams has also claimed he




                                           18
      CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 19 of 20




was represented in the Fink litigation by Aaron Hartman of the Anthony Ostlund
Baer law firm. (Gov’t’s Reply at 30–31; Def.’s Privilege Log (rows 41–42, 59–60).)

       There is little guidance in the case law regarding the standard of proof
Mr. Adams must meet in order to establish that the privileges in this context was
personal rather than corporate. However, the presumption is that Nelson Mullins had
a relationship with Scio, and not with Mr. Adams. See In re Grand Jury Subpoena, 274
F.3d 563, 571 (1st Cir. 2001) (“The default assumption is that the attorney only
represents the corporate entity, not the individuals within the corporate sphere, and it
is the individuals’ burden to dispel that presumption.”); Diversified Indus., 572 F.2d at
611 n.5. Given this presumption, the Court believes that Mr. Adams must provide at
least a preponderance of the evidence that he established a personal, individual
attorney-client relationship with the law firm representing Scio’s interests. See 48 Am.
Jur. Proof of Facts 2d Existence of Attorney-Client Relationship § 20, Burden of Proof,
Westlaw (September 2018 Update) (“Regardless of which party has the burden of
establishing the existence of an attorney-client relationship, the degree or standard of
proof required appears to be proof by a preponderance of the evidence.”) (citing In re
Olson, 21 B.R. 123, 126 (Bankr. D. Neb. June 4, 1982)).

       The Court finds that Mr. Adams has not met that burden. There has been no
showing that Mr. Adams made it clear that he was seeking advice from Mr. Manning
individually, rather than in a representative capacity for Scio. The closest the record
comes to suggesting something of that sort occurred is Mr. Adams’s reference to an
August 9, 2012 phone call in which he avers that Mr. Manning “confirmed” he would
be representing all defendants in the Fink litigation in connection with the settlement
negotiations. Even if this recollection is accurate, it does not show that Mr. Adams
clearly conveyed that he was seeking legal counsel in his individual capacity from
Nelson Mullins attorneys. Moreover, Mr. Adams’s recollection is contradicted by
Mr. Manning’s own letter to AUSA Kokkinen in which Mr. Manning disavows any
personal attorney-client relationship between any Nelson Mullins attorney and
Mr. Adams personally. The reference to “defendants” found in In Camera Exhibit CC


                                            19
      CASE 0:17-cr-00064-DWF-KMM Doc. 225 Filed 10/27/18 Page 20 of 20




also does not establish that Mr. Adams formed a personal attorney-client relationship
with Nelson Mullins. The memorandum is addressed to the Scio Board of Directors,
not to Mr. Adams personally. Nor does the August 29, 2012 email conversation
comprising In Camera Exhibit DD imply that prior to that date Mr. Adams had made
it clear he was seeking representation in his individual capacity. In addition, the
substance of the emails at issue themselves, which the Court has also reviewed in
camera, does not demonstrate that Mr. Manning was communicating with or advising
Mr. Adams in his individual capacity.

      Other considerations support the Court’s conclusion. Mr. Adams has presented
no evidence that Nelson Mullins ever sent him an engagement letter, presented an
invoice for services rendered, or requested a potential waiver of the conflict of interest
that may arise if there were joint representation of Scio and Mr. Adams in the same
lawsuit. The Court would expect something of this nature to have been in the files of
a sophisticated client if he had indeed entered into a personal attorney-client
relationship with a large law firm like Nelson Mullins. However, no such
documentation has been provided. Cf. United States v. Graf, 610 F.3d 1148, 1162 (9th
Cir. 2010) (concluding that a corporation’s agent did not establish a personal attorney-
client relationship with corporate counsel, in part, because he “acknowledged that he
never paid the [law firm] during the [alleged] representation”).

      For these reasons, the government’s motion is granted with respect to the
Nelson Mullins communications.

IV.   ORDER

      As set forth in this Order, the government’s motion contesting the application
of privilege (ECF No. 192) is DENIED IN PART and GRANTED IN PART.

 Date: October 27, 2018                            s/Katherine Menendez
                                                   Katherine Menendez
                                                   United States Magistrate Judge




                                            20
